                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )
vs.                                        )      Case No. 09-00143-05-CR-W-ODS
                                           )
ILKHAM FAZILOV,                            )
                                           )
                     Defendant.            )

  ORDER AFFIRMING DENIAL OF DEFENDANT’S MOTION FOR NEW COUNSEL

       On March 4, 2010, the Honorable Sarah W. Hays – the Magistrate Judge to
whom this case is assigned – denied Defendant’s request for new counsel. On March
17, Defendant filed a pro se motion asking for new counsel. While the document is
captioned as a motion, the last page references Judge Hays’ decision and expresses
Defendant’s desire “to address my issue to a higher judge or court.” While the Court
does not ordinarily entertain pro se legal filings from represented parties, this rule
makes little sense in the context of a defendant’s effort to replace his attorney.
Accordingly, the Court will treat the motion as a request for review under 28 U.S.C. §
636.
       After considering Defendant’s arguments, the undersigned concurs with Judge
Hays’ assessment. Defendant has not demonstrated any failings on the part of his
appointed counsel, nor has he suggested any basis for doubting his attorney’s
competence or ability. Accordingly, the motion (Doc. # 233) is denied and Judge Hays’
denial of Defendant’s request for new counsel is affirmed. The undersigned also
reiterates Judge Hays’ advice that Defendant needs to meet with, communicate with,
and (most importantly) cooperate with counsel.
       The Clerk of Court is directed to mail a copy of this Order to:
Ilkham Fazilov
Reg. No. 21532-045
100 Highway Terrace
Leavenworth, KS 66048




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IT IS SO ORDERED.



                                        /s/ Ortrie D. Smith
                                        ORTRIE D. SMITH, JUDGE
DATE: March 24, 2010                    UNITED STATES DISTRICT COURT




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